
177 U.S. 213 (1900)
OHIO OIL COMPANY
v.
INDIANA (NO. 3).
No. 85.
Supreme Court of United States.
Argued December 18, 19, 1899.
Decided April 9, 1900.
ERROR TO THE SUPREME COURT OF THE STATE OF INDIANA.
MR. JUSTICE WHITE delivered the opinion of the court.
The Supreme Court of the State of Indiana affirmed a judgment of the trial court, awarding the sum of certain penalties incurred by violating a statute of the State of Indiana which came under our review in case No. 84, this day disposed of. The opinion in that case is conclusive of every question here arising, and for the reasons given in case No. 84, the judgment is
Affirmed.
